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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                Criminal No. 21-CR-57

    UNITED STATES OF AMERICA,

                         Plaintiff,
         v.

    (1) SEALED
    (2) ELIFFA HENRY KINYAIYA
    (3) VARBAR B. KANNEH
                                           NOTICE OF APPEARANCE
    (4) ESKENDER M. YOUSUF
    (5) ZELDA LIBERTY RUSSELL
    (6) SEALED
    (7) HODAN ABDI HASHI
    (8) OMAR ALI OSMAN, and
    (9) UBAH HASSAN HAGI

                         Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Jordan L. Sing

Dated: September 16, 2021                       Respectfully submitted,

                                                W. ANDERS FOLK
                                                Acting United States Attorney

                                                s/Jordan L. Sing

                                                BY: JORDAN L. SING
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0393084
